                            Case 1:21-cv-01284-JPB             Document 4   Filed 03/30/21     Page 1 of 13



                                     IN THE UNITED STATES DISTRICT COURT
                                    FOR THE NORTHERN DISTRICT OF GEORGIA
                                               ATLANTA DIVISION
             SIXTH DISTRICT OF THE
             AFRICAN METHODIST
             EPISCOPAL CHURCH, a Georgia
             nonprofit organization, GEORGIA
             MUSLIM VOTER PROJECT, a
             Georgia nonprofit organization,
             WOMEN WATCH AFRIKA, a
             Georgia nonprofit organization,
             LATINO COMMUNITY FUND OF
             GEORGIA, a Georgia nonprofit
             organization, DELTA SIGMA THETA
             SORORITY, INC., a Washington D.C.
             nonprofit organization on behalf of
             7000+ Sorors residing in Georgia,                                 CIVIL ACTION NO.
                                                                              No. 1:21-cv-01284-ELR
                                          Plaintiffs,
             v.
                                                                       CERTIFICATE OF INTERESTED
             BRIAN KEMP, Governor of the State                          PERSONS AND CORPORATE
             of Georgia, in his official capacity,                       DISCLOSURE STATEMENT
             BRAD RAFFENSPERGER, Secretary
             of State of Georgia, in his official
             capacity, GEORGIA STATE
             ELECTIONS BOARD, REBECCA
             SULLIVAN, DAVID WORLEY,
             MATTHEW MASHBURN, and ANH
             LEE, Members of the Georgia State
             Elections Board, in their official
             capacities, FULTON COUNTY
             REGISTRATION AND ELECTIONS
             BOARD, ALEX WAN, MARK
             WINGATE, KATHLEEN D. RUTH,
             VERNETTA K. NURIDDIN, and
             AARON V. JOHNSON, Members of
             the Fulton County Registration and
             Elections Board, in their official
             capacities, RICHARD L. BARRON,


                       CERTIFICATE OF INTERESTED PERSONS AND
4825-3648-816 3v.1 -
                       CORPORATE DISCLOSURE STATEMENT                  1                     Case No. 1:21-cv-01284-ELR
                            Case 1:21-cv-01284-JPB             Document 4   Filed 03/30/21     Page 2 of 13




             Director of the Fulton County
             Registrations and Elections board, in
             his official capacity, DEKALB
             COUNTY BOARD OF
             REGISTRATIONS AND
             ELECTIONS, ANTHONY LEWIS,
             SUSAN MOTTER, DELE L. SMITH,
             SAMUEL E. TILLMAN, and BAOKY
             N. VU, Members of the DeKalb
             County Board of Registrations and
             Elections, in their official capacities,
             ERICA HAMILTON, Director of
             Voter Registration and Elections in
             DeKalb County, in her official
             capacity, GWINNETT COUNTY
             BOARD OF REGISTRATIONS AND
             ELECTIONS, ALICE O’LENICK,
             WANDY TAYLOR, STEPHEN W.
             DAY, JOHN MANGANO, GEORGE
             AWUKU, and SANTIAGO
             MARQUEZ, Members of the Gwinnett
             County Board of Registrations and
             Elections, in their official capacities,
             LYNN LEDFORD, Director of the
             Gwinnett County Board of
             Registrations and Elections, in her
             official capacity, COBB COUNTY
             BOARD OF ELECTIONS AND
             REGISTRATION, PHIL DANIELL,
             FRED AIKEN, PAT GARTLAND,
             JESSICA M. BROOKS, and DARYL
             O. WILSON, JR., Members of the
             Cobb County Board of Elections and
             Registration, in their official capacities,
             JANINE EVELER, Director of the
             Cobb County Board of Elections and
             Registration, in her official capacity,
             HALL COUNTY BOARD OF
             ELECTIONS AND REGISTRATION,
             TOM SMILEY, DAVID KENNEDY,


                       CERTIFICATE OF INTERESTED PERSONS AND
4825-3648-816 3v.1 -
                       CORPORATE DISCLOSURE STATEMENT                  2                     Case No. 1:21-cv-01284-ELR
                            Case 1:21-cv-01284-JPB             Document 4   Filed 03/30/21     Page 3 of 13




             KEN COCHRAN, CRAIG LUTZ, and
             GALA SHEATS, Members of the Hall
             County Board of Elections and
             Registration, in their official capacities,
             LORI WURTZ, Director of Hall
             County Elections, in her official
             capacity, CLAYTON COUNTY
             BOARD OF ELECTIONS AND
             REGISTRATION, DARLENE
             JOHNSON, DIANE GIVENS,
             CAROL WESLEY, DOROTHY F.
             HALL, and PATRICIA PULLAR,
             Members of the Clayton County Board
             of Elections and Registration, in their
             official capacities, SHAUNA DOZIER,
             Clayton County Elections Director, in
             her official capacity, RICHMOND
             COUNTY BOARD OF ELECTIONS,
             TIM MCFALLS, SHERRY T.
             BARNES, MARCIA BROWN,
             TERENCE DICKS, and BOB
             FINNEGAN, Members of the
             Richmond County Board of Elections,
             in their official capacities, LYNN
             BAILEY, Richmond County Elections
             Director, in her official capacity, BIBB
             COUNTY BOARD OF ELECTIONS,
             MIKE KAPLAN, HERBERT
             SPANGLER, RINDA WILSON,
             HENRY FICKLIN, and CASSANDRA
             POWELL, Members of the Bibb
             County Board of Elections, in their
             official capacities, and JEANETTA R.
             WATSON, Bibb County Elections
             Supervisor, in her official capacity,
             BIBB COUNTY BOARD OF
             REGISTRARS, VERONICA SEALS,
             Bibb County Chief Registrar, in her
             official capacity, CHATHAM
             COUNTY BOARD OF ELECTIONS,


                       CERTIFICATE OF INTERESTED PERSONS AND
4825-3648-816 3v.1 -
                       CORPORATE DISCLOSURE STATEMENT                  3                     Case No. 1:21-cv-01284-ELR
                            Case 1:21-cv-01284-JPB             Document 4   Filed 03/30/21     Page 4 of 13




             THOMAS J. MAHONEY, MALINDA
             HODGE, MARIANNE HEIMES, and
             ANTWAN LANG, Members of
             Chatham County Board of Elections, in
             their official capacities, CHATHAM
             COUNTY BOARD OF
             REGISTRARS, COLIN MCRAE,
             WANDA ANDREWS, WILLIAM L.
             NORSE, JON PANNELL, and
             RANDOLPH SLAY, Members of the
             Chatham County Board of Registrars,
             in their official capacities, CLARKE
             COUNTY BOARD OF ELECTION
             AND VOTER REGISTRATION,
             WILLA JEAN FAMBROUGH,
             HUNAID QADIR, ANN TILL,
             ROCKY RAFFLE, and ADAM
             SHIRLEY, Members of the Clarke
             County Board of Election and Voter
             Registration, in their official capacities,
             CHARLOTTE SOSEBEE, Clarke
             County Board of Election and Voter
             Registration Director, in her official
             capacity, COLUMBIA COUNTY
             BOARD OF ELECTIONS, ANN
             CUSHMAN, WANDA DUFFIE, and
             LARRY WIGGINS, Members of the
             Columbia County Board of Elections,
             in their official capacities,
             COLUMBIA COUNTY BOARD OF
             REGISTRARS, NANCY L. GAY,
             Columbia County Chief Registrar, in
             her official capacity,

                                          Defendants.




                       CERTIFICATE OF INTERESTED PERSONS AND
4825-3648-816 3v.1 -
                       CORPORATE DISCLOSURE STATEMENT                  4                     Case No. 1:21-cv-01284-ELR
                            Case 1:21-cv-01284-JPB             Document 4   Filed 03/30/21     Page 5 of 13


                           Plaintiffs Sixth District of the African Methodist Episcopal Church, Georgia

Muslim Voter Project, Women Watch Afrika, Latino Community Fund of Georgia,

and Delta Sigma Theta Sorority, Inc. (collectively, “Plaintiffs”), hereby submit the

following statement of their corporate interests pursuant to Rule 7.1 of the Federal

Rules of Civil Procedure and Local Rule 3.3.


                           (1)     The undersigned Counsel of Record for Plaintiffs certifies that the

following is a full and complete list of all parties to this action, including any

parent corporation and any publicly-held corporation that owns 10% or more

of the stock of a party:

                        Sixth District of the African Methodist Episcopal Church (Plaintiff), which

                           has no parent corporation, nor does a publicly-held company own any

                           interest in it;

                        Georgia Muslim Voter Project (Plaintiff), which has no parent corporation,

                           nor does a publicly-held company own any interest in it;

                        Women Watch Afrika (Plaintiff), which has no parent corporation, nor does

                           a publicly-held company own any interest in it;

                        Latino Community Fund of Georgia (Plaintiff), which has no parent

                           corporation, nor does a publicly-held company own any interest in it;

                        Delta Sigma Theta Sorority, Inc. (Plaintiff), which has no parent

                           corporation, nor does a publicly-held company own any interest in it;

                        Brian Kemp, in his official capacity (Defendant);

                       CERTIFICATE OF INTERESTED PERSONS AND
4825-3648-816 3v.1 -
                       CORPORATE DISCLOSURE STATEMENT                  1                     Case No. 1:21-cv-01284-ELR
                            Case 1:21-cv-01284-JPB             Document 4   Filed 03/30/21     Page 6 of 13


                        Brad Raffensperger, in his official capacity (Defendant);

                        Georgia State Elections Board (Defendant);

                        Rebecca Sullivan, in her official capacity (Defendant);

                        David Worley, in his official capacity (Defendant);

                        Matthew Mashburn, in his official capacity (Defendant);

                        Anh Lee, in his official capacity (Defendant);

                        Fulton County Registration and Elections Board (Defendant);

                        Alex Wan, in his official capacity (Defendant);

                        Mark Wingate, in his official capacity (Defendant);

                        Kathleen D. Ruth, in her official capacity (Defendant);

                        Vernetta Keith Nuriddin, in her official capacity (Defendant);

                        Aaron V. Johnson, in his official capacity (Defendant);

                        Richard L. Barron, in his official capacity (Defendant);

                        DeKalb County Board of Registrations & Elections (Defendant);

                        Anthony Lewis, in his official capacity (Defendant);

                        Susan Motter, in her official capacity (Defendant);

                        Dele Lowman Smith, in her official capacity (Defendant);

                        Samuel E. Tillman, in his official capacity (Defendant);

                        Baoky N. Vu, in his official capacity (Defendant);

                        Erica Hamilton, in her official capacity (Defendant);

                        Gwinnett County Board of Registrations and Elections (Defendant);
                       CERTIFICATE OF INTERESTED PERSONS AND
4825-3648-816 3v.1 -
                       CORPORATE DISCLOSURE STATEMENT                  2                     Case No. 1:21-cv-01284-ELR
                            Case 1:21-cv-01284-JPB             Document 4   Filed 03/30/21     Page 7 of 13


                        Alice O’Lenick, in her official capacity (Defendant);

                        Wandy Taylor, in her official capacity (Defendant);

                        Stephen W. Day, in his official capacity (Defendant);

                        John Mangano, in his official capacity (Defendant);

                        George Awuku, in his official capacity (Defendant);

                        Santiago Marquez, in his official capacity (Defendant);

                        Lynn Ledford, in her official capacity (Defendant);

                        Cobb County Board of Elections and Registration (Defendant);

                        Phil Daniell, in his official capacity (Defendant);

                        Fred Aiken, in his official capacity (Defendant);

                        Pat Gartland, in his official capacity (Defendant);

                        Jessica M. Brooks, in her official capacity (Defendant);

                        Darryl O. Wilson, Jr., in her official capacity (Defendant);

                        Janine Eveler, in her official capacity (Defendant);

                        Hall County Board of Elections and Registration (Defendant);

                        Tom Smiley, in his official capacity (Defendant);

                        David Kennedy, in his official capacity (Defendant);

                        Ken Cochran, in his official capacity (Defendant);

                        Craig Lutz, in his official capacity (Defendant);

                        Gala Sheats, in her official capacity (Defendant);

                        Lori Wurtz, in his official capacity (Defendant);
                       CERTIFICATE OF INTERESTED PERSONS AND
4825-3648-816 3v.1 -
                       CORPORATE DISCLOSURE STATEMENT                  3                     Case No. 1:21-cv-01284-ELR
                            Case 1:21-cv-01284-JPB             Document 4   Filed 03/30/21     Page 8 of 13


                        Clayton County Board of Elections and Registration (Defendant);

                        Darlene Johnson, in his official capacity (Defendant);

                        Diane Givens, in her official capacity (Defendant);

                        Carol Wesley, in her official capacity (Defendant);

                        Dorothy Foster Hall, in his official capacity (Defendant);

                        Patricia Pullar, in her official capacity (Defendant);

                        Shauna Dozier, in her official capacity (Defendant);

                        Richmond County Board of Elections (Defendant);

                        Tim McFalls, in his official capacity (Defendant);

                        Sherry T. Barnes, in her official capacity (Defendant);

                        Marcia Brown, in her official capacity (Defendant);

                        Terence Dicks, in his official capacity (Defendant);

                        Bob Finnegan, in his official capacity (Defendant);

                        Lynn Bailey, in her official capacity (Defendant);

                        Bibb County Board of Elections (Defendant);

                        Mike Kaplan, in his official capacity (Defendant);

                        Herbert Spangler, in his official capacity (Defendant);

                        Rinda Wilson, in her official capacity (Defendant);

                        Henry Ficklin, in his official capacity (Defendant);

                        Cassandra Powell, in his official capacity (Defendant);

                        Jeanetta R. Watson, in her official capacity (Defendant);
                       CERTIFICATE OF INTERESTED PERSONS AND
4825-3648-816 3v.1 -
                       CORPORATE DISCLOSURE STATEMENT                  4                     Case No. 1:21-cv-01284-ELR
                            Case 1:21-cv-01284-JPB             Document 4   Filed 03/30/21     Page 9 of 13


                        Bibb County Board of Registrars (Defendant);

                        Veronica Seals, in her official capacity (Defendant);

                        Chatham County Board of Elections (Defendant);

                        Thomas J. Mahoney, in his official capacity (Defendant);

                        Malinda Hodge, in her official capacity (Defendant);

                        Marianne Heimes, in her official capacity (Defendant);

                        Antwan Lang, in her official capacity (Defendant);

                        Chatham County Board of Registrars (Defendant);

                        Colin McRae, in his official capacity (Defendant);

                        Wanda Andrews, in her official capacity (Defendant);

                        William L. Norse, in his official capacity (Defendant);

                        Jon Pannell, in his official capacity (Defendant);

                        Randolph Slay, in his official capacity (Defendant);

                        Clarke County Board of Election and Voter Registration (Defendant);

                        Willa Jean Fambrough, in her official capacity (Defendant);

                        Hunaid Qadir, in his official capacity (Defendant);

                        Ann Till, in her official capacity (Defendant);

                        Rocky Raffle, in his official capacity (Defendant);

                        Adam Shirley, in his official capacity (Defendant);

                        Charlotte Sosebee, in her official capacity (Defendant);

                        Columbia County Board of Elections (Defendant);
                       CERTIFICATE OF INTERESTED PERSONS AND
4825-3648-816 3v.1 -
                       CORPORATE DISCLOSURE STATEMENT                  5                     Case No. 1:21-cv-01284-ELR
                           Case 1:21-cv-01284-JPB              Document 4   Filed 03/30/21    Page 10 of 13


                        Ann Cushman, in her official capacity (Defendant);

                        Wanda Duffie, in her official capacity (Defendant);

                        Larry Wiggins, in his official capacity (Defendant);

                        Columbia County Board of Registrars (Defendant); and

                        Nancy L. Gay, in her official capacity (Defendant).

                           (2)     The undersigned further certifies that the following is a full and

complete list of all other persons, associations, firms, partnerships, or

corporations having either a financial interest in or other interest which could

be substantially affected by the outcome of this particular case:

                        None known.

                           (3)     The undersigned further certifies that the following is a full and

complete list of all persons serving as attorneys for the parties in this

proceeding:

Plaintiffs

                        Nancy G. Abudu and Pichaya Poy Winichakul, Southern Poverty Law

                           Center;

                        Leah C. Aden and John S. Cusick, NAACP Legal Defense and Education

                           Fund;

                        Sean J. Young and Rahul Garabadu, American Civil Liberties Union

                           Foundation of Georgia, Inc.;

                        Sophia Lin Lakin, Theresa J. Lee, and Dale E. Ho, American Civil Liberties

                       CERTIFICATE OF INTERESTED PERSONS AND
4825-3648-816 3v.1 -
                       CORPORATE DISCLOSURE STATEMENT                  6                     Case No. 1:21-cv-01284-ELR
                           Case 1:21-cv-01284-JPB              Document 4   Filed 03/30/21    Page 11 of 13


                           Union Foundation;

                        Adam S. Sieff, Kate Kennedy, Matthew Jedreski, David Gossett, Courtney

                           DeThomas, Grace Thompson, and Jordan Harris, of Davis Wright Tremaine

                           LLP; and

                        Debo P. Adegbile, Ilya Feldsherov, George P. Varghese, Stephanie Lin,

                           Tania Faransso, Webb Lyons, and Nana Wilberforce, of Wilmer Cutler

                           Pickering Hale and Dorr LLP.

Defendants

                        [Intentionally left blank]


Respectfully submitted, this 30th day of March 2021.


            /s/ Pichaya Poy Winichakul                                 /s/ Leah C. Aden
            Nancy G. Abudu (Ga. Bar 001471)                            Leah C. Aden*
            nancy.abudu@splcenter.org                                  laden@naacpldf.org
            Pichaya Poy Winichakul (Ga. Bar                            John S. Cusick*
            246858)                                                    jcusick@naacpldf.org
            poy.winichakul@splcenter.org                               NAACP LEGAL DEFENSE AND
            SOUTHERN POVERTY LAW                                       EDUCATION FUND
            CENTER                                                     40 Rector Street, 5th Floor
            P.O. Box 1287                                              New York, New York 10006
            Decatur, Georgia 30031-1287                                Telephone: (212) 965-2200
            Telephone: (404) 521-6700                                  Facsimile: (212) 226-7592
            Facsimile: (404) 221-5857
                                                                       /s/ Debo P. Adegbile
            /s/ Sean J. Young                                          Debo P. Adegbile*
            Sean J. Young (Ga. Bar 790399)                             debo.adegbile@wilmerhale.com
            syoung@acluga.org                                          Ilya Feldsherov*
            Rahul Garabadu (Ga. Bar 553777)                            ilya.feldsherov@wilmerhale.com
            rgarabadu@acluga.org                                       WILMER CUTLER PICKERING HALE
                                                                       AND DORR LLP
                                                                       7 World Trade Center

                       CERTIFICATE OF INTERESTED PERSONS AND
4825-3648-816 3v.1 -
                       CORPORATE DISCLOSURE STATEMENT                  7                     Case No. 1:21-cv-01284-ELR
                           Case 1:21-cv-01284-JPB              Document 4   Filed 03/30/21    Page 12 of 13


            AMERICAN CIVIL LIBERTIES                                   250 Greenwich Street
            UNION FOUNDATION OF                                        New York, New York 10007
            GEORGIA, INC.                                              Telephone: (212) 230-8800
            P.O. Box 77208                                             Facsimile: (212) 230-8888
            Atlanta, Georgia 30357
            Telephone: (678) 981-5295                                  George P. Varghese*
            Facsimile: (770) 303-0060                                  george.varghese@wilmerhale.com
                                                                       Stephanie Lin*
            /s/ Sophia Lin Lakin                                       stephanie.lin@wilmerhale.com
            Sophia Lin Lakin*                                          WILMER CUTLER PICKERING HALE
            slakin@aclu.org                                            AND DORR LLP
            Theresa J. Lee*                                            60 State Street
            tlee@aclu.org                                              Boston, Massachusetts 02109
            Dale E. Ho*                                                Telephone: (617) 526-6000
            dho@aclu.org                                               Facsimile: (617) 526-5000
            AMERICAN CIVIL LIBERTIES
            UNION FOUNDATION                                           Tania Faransso*
            125 Broad Street, 18th Floor                               tania.faransso@wilmerhale.com
            New York, New York 10004                                   Webb Lyons*
            Telephone: (212) 519-7836                                  webb.lyons@wilmerhale.com
            Facsimile: (212) 549-2539                                  WILMER CUTLER PICKERING HALE
                                                                       AND DORR LLP
            /s/ Adam S. Sieff                                          1875 Pennsylvania Ave. NW
            Adam S. Sieff*                                             Washington, D.C. 20006
            adamsieff@dwt.com                                          Telephone: (202) 663-6000
            DAVIS WRIGHT TREMAINE LLP                                  Facsimile: (202) 663-6363
            865 South Figueroa Street, 24th Floor
            Los Angeles, California 90017-2566                         Nana Wilberforce*
            Telephone: (213) 633-6800                                  nana.wilberforce@wilmerhale.com
            Facsimile: (213) 633-6899                                  WILMER CUTLER PICKERING HALE
                                                                       AND DORR LLP
            Kate Kennedy*                                              350 South Grand Avenue, Suite 2400
            katekennedy@dwt.com                                        Los Angeles, California 90071
            Matthew Jedreski*                                          Telephone: (213) 443-5300
            mjedreski@dwt.com                                          Facsimile: (213) 443-5400
            DAVIS WRIGHT TREMAINE LLP
            920 Fifth Avenue, Suite 3300
            Seattle, Washington 98104-1610
                                        Attorneys for Plaintiffs

                                                     *Pro Hac Vice Forthcoming


                       CERTIFICATE OF INTERESTED PERSONS AND
4825-3648-816 3v.1 -
                       CORPORATE DISCLOSURE STATEMENT                  8                     Case No. 1:21-cv-01284-ELR
                           Case 1:21-cv-01284-JPB              Document 4   Filed 03/30/21    Page 13 of 13


                                              CERTIFICATE OF COMPLAINCE
                           I hereby certify that the foregoing document has been prepared in

accordance with the font type and margin requirements of L.R. 5.1, using font type

of Times New Roman and a point size of 14.


Dated: March 30, 2021                                            /s/ Pichaya Poy Winichakul
                                                                    Pichaya Poy Winichakul
                                                                    Counsel for Plaintiffs



                                                  CERTIFICATE OF SERVICE
                           I hereby certify that on March 30, 2021, I electronically filed this document

with the Clerk of Court using the CM/ECF system which will automatically send

email notification of such filing to the attorneys of record.


Dated: March 30, 2021                                              /s/ Pichaya Poy Winichakul
                                                                   Pichaya Poy Winichakul
                                                                   Counsel for Plaintiffs




                       CERTIFICATE OF INTERESTED PERSONS AND
4825-3648-816 3v.1 -
                       CORPORATE DISCLOSURE STATEMENT                  9                     Case No. 1:21-cv-01284-ELR
